                                                                           Case 17-13295-KHK              Doc 13         Filed 10/11/17 Entered 10/11/17 18:54:37         Desc Main
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                                                                                                                United States Bankruptcy Court
                                                                                                         Eastern District of Virginia, Alexandria Division

                                                                   IN RE:                                                                                Case No. 1:17-bk-13295
                                                                   Hunter, Betty D.                                                                      Chapter 13
                                                                                                            Debtor(s)

                                                                                                              BUSINESS INCOME AND EXPENSES
                                                                   FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                   operation.)

                                                                   PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                     1. Gross Income For 12 Months Prior to Filing:                                      $        14,702.00

                                                                   PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                     2. Gross Monthly Income:                                                                                 $   1,225.16

                                                                   PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                     3.   Net Employee Payroll (Other Than Debtor)                                       $
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                                                                     4.   Payroll Taxes                                                                  $
                                                                     5.   Unemployment Taxes                                                             $
                                                                     6.   Worker’s Compensation                                                          $
                                                                     7.   Other Taxes                                                                    $
                                                                     8.   Inventory Purchases (Including raw materials)                                  $
                                                                     9.   Purchase of Feed/Fertilizer/Seed/Spray                                         $
                                                                    10.   Rent (Other than debtor’s principal residence)                                 $
                                                                    11.   Utilities                                                                      $
                                                                    12.   Office Expenses and Supplies                                                   $
                                                                    13.   Repairs and Maintenance                                                        $
                                                                    14.   Vehicle Expenses                                                               $
                                                                    15.   Travel and Entertainment                                                       $
                                                                    16.   Equipment Rental and Leases                                                    $
                                                                    17.   Legal/Accounting/Other Professional Fees                                       $
                                                                    18.   Insurance                                                                      $
                                                                    19.   Employee Benefits (e.g., pension, medical, etc.)                               $
                                                                    20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                          Business Debts (Specify):                                                      $




                                                                    21. Other (Specify):                                                                 $




                                                                    22. Total Monthly Expenses (Add items 3-21)                                                               $

                                                                   PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                    23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                             $   1,225.16
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Betty D. Hunter
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number            1:17-bk-13295                                                                                                                        Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        25872 Flintonbridge Dr                                                                                                 the amount of any secured claims on Schedule D:
        Street address, if available, or other description
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property .
                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Chantilly                         VA        20152-4802                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $648,571.00                 $648,571.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only                                  Fee Simple
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Single Family House


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $648,571.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 1       Hunter, Betty D.                                                                               Case number (if known)     1:17-bk-13295
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                    $0.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                           Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Bedroom Furnishings                                                                                                    $1,100.00

                                   Living Room Furnishings                                                                                                 $200.00

                                   Dining Room Furnishings                                                                                                 $100.00

                                   Kitchen Furnishings and Kitchenware                                                                                     $100.00

                                   Family Room Furnishings                                                                                                 $200.00

                                   Basement Furnishings                                                                                                      $50.00

                                   Three (3) Televisions                                                                                                   $100.00

                                   One (1) Computer                                                                                                        $200.00

                                   One (1) Cell Phone                                                                                                        $50.00

                                   Refrigerator                                                                                                            $150.00

                                   Stove                                                                                                                     $50.00

                                   Dishwasher                                                                                                                $25.00

                                   Washer and Dryer                                                                                                          $25.00

                                   Microwave                                                                                                                 $25.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
    Yes.     Describe.....
                                   Books                                                                                                                   $150.00




Official Form 106A/B                                                Schedule A/B: Property                                                                     page 2
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 Debtor 1          Hunter, Betty D.                                                                                        Case number (if known)   1:17-bk-13295
9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.        Describe.....
                                            Sports Equipment                                                                                                           $10.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Women's Clothing                                                                                                         $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes.        Give specific information.....
                                            Wedding and Engagement Jewelry                                                                                             $25.00

                                            Costume Jewelry                                                                                                            $20.00

                                            Earnings                                                                                                                    $1.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $2,681.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              Cash                                      $5.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 3
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                                        17.1.    Checking Account             Capital One Acct. #XXXX5651                                                 $78.21



                                        17.2.    Checking Account             United Bank Acct. #XXXX0464                                                $606.33


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                      Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes.      Give specific information about them...
                                                Inchoate Inheritance                                                                                       $1.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...




Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
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 Debtor 1        Hunter, Betty D.                                                                                           Case number (if known)         1:17-bk-13295

 Money or property owed to you?                                                                                                                               Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                  Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes.      Describe each claim.........
                                                        Federal and State Tax Refunds                                                                                          $1.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
    Yes.      Give specific information..
                                                        Disposable Wages                                                                                                   $1,672.00


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................               $2,363.54

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.




Official Form 106A/B                                                        Schedule A/B: Property                                                                              page 5
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 Debtor 1         Hunter, Betty D.                                                                                                      Case number (if known)   1:17-bk-13295
 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $648,571.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $2,681.00
 58. Part 4: Total financial assets, line 36                                                                    $2,363.54
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $5,044.54             Copy personal property total               $5,044.54

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $653,615.54




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
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 Fill in this information to identify your case:

 Debtor 1                Betty D. Hunter
                         First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number           1:17-bk-13295
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

                                                                                                                                 Va. Code Ann. § 34-4
      25872 Flintonbridge Dr
                                                                  $648,571.00                                     $4,404.36
      Chantilly VA, 20152-4802                                                              100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                            any applicable statutory limit

      Bedroom Furnishings                                                                                                        Va. Code Ann. § 34-26(4a)
      Line from Schedule A/B: 6.1
                                                                    $1,100.00                                       $550.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Bedroom Furnishings                                                                                                        Va. Code Ann. § 34-26(4a)
      Line from Schedule A/B: 6.1
                                                                    $1,100.00                                       $550.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Living Room Furnishings                                                                                                    Va. Code Ann. § 34-26(4a)
      Line from Schedule A/B: 6.2
                                                                        $200.00                                     $100.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Living Room Furnishings                                                                                                    Va. Code Ann. § 34-26(4a)
      Line from Schedule A/B: 6.2
                                                                        $200.00                                     $100.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 5
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     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Dining Room Furnishings                                                                                                 Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.3
                                                                       $100.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Dining Room Furnishings                                                                                                 Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.3
                                                                       $100.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Kitchen Furnishings and                                                                                                 Va. Code Ann. § 34-26(4a)
     Kitchenware
                                                                       $100.00                                   $50.00
     Line from Schedule A/B: 6.4                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Kitchen Furnishings and                                                                                                 Va. Code Ann. § 34-26(4a)
     Kitchenware
                                                                       $100.00                                   $50.00
     Line from Schedule A/B: 6.4                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Family Room Furnishings                                                                                                 Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.5
                                                                       $200.00                                  $100.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Family Room Furnishings                                                                                                 Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.5
                                                                       $200.00                                  $100.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Basement Furnishings                                                                                                    Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.6
                                                                        $50.00                                   $25.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Basement Furnishings                                                                                                    Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.6
                                                                        $50.00                                   $25.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Three (3) Televisions                                                                                                   Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.7
                                                                       $100.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Three (3) Televisions                                                                                                   Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.7
                                                                       $100.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     One (1) Computer                                                                                                        Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.8
                                                                       $200.00                                  $100.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     One (1) Computer                                                                                                        Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.8
                                                                       $200.00                                  $100.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 5
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     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     One (1) Cell Phone                                                                                                      Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.9
                                                                        $50.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Refrigerator                                                      $150.00                                              Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.10
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Stove                                                              $50.00                                              Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.11
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Dishwasher                                                         $25.00                                              Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.12
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Washer and Dryer                                                   $25.00                                              Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.13
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Microwave                                                          $25.00                                              Va. Code Ann. § 34-26(4a)
     Line from Schedule A/B: 6.14
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Books                                                                                                                   Va. Code Ann. § 34-4
     Line from Schedule A/B: 8.1
                                                                       $150.00                                     $1.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Sports Equipment                                                                                                        Va. Code Ann. § 34-4
     Line from Schedule A/B: 9.1
                                                                        $10.00                                     $1.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Women's Clothing                                                  $100.00                                              Va. Code Ann. § 34-26(4)
     Line from Schedule A/B: 11.1
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wedding and Engagement Jewelry                                     $25.00                                              Va. Code Ann. § 34-26(1a)
     Line from Schedule A/B: 14.1
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Costume Jewelry                                                                                                         Va. Code Ann. § 34-4
     Line from Schedule A/B: 14.2
                                                                        $20.00                                     $1.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Earnings                                                                                                                Va. Code Ann. § 34-29
     Line from Schedule A/B: 14.3
                                                                          $1.00                                     75%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 3 of 5
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          Case 17-13295-KHK                         Doc 13         Filed 10/11/17 Entered 10/11/17 18:54:37                              Desc Main
                                                                  Document     Page 11 of 50
     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Earnings                                                                                                                Va. Code Ann. § 34-4
     Line from Schedule A/B: 14.3
                                                                          $1.00                                     25%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Cash                                                                                                                    Va. Code Ann. § 34-4
     Line from Schedule A/B: 16.1
                                                                          $5.00                                     25%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Cash                                                                                                                    Va. Code Ann. § 34-29
     Line from Schedule A/B: 16.1
                                                                          $5.00                                     75%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Capital One Acct. #XXXX5651                                                                                             Va. Code Ann. § 34-4
     Line from Schedule A/B: 17.1
                                                                        $78.21                                      25%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Capital One Acct. #XXXX5651                                                                                             Va. Code Ann. § 34-29
     Line from Schedule A/B: 17.1
                                                                        $78.21                                      75%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     United Bank Acct. #XXXX0464                                                                                             Va. Code Ann. § 34-4
     Line from Schedule A/B: 17.2
                                                                       $606.33                                      25%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     United Bank Acct. #XXXX0464                                                                                             Va. Code Ann. § 34-29
     Line from Schedule A/B: 17.2
                                                                       $606.33                                      75%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Inchoate Inheritance                                                 $1.00                                             Va. Code Ann. § 34-4
     Line from Schedule A/B: 25.1
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Federal and State Tax Refunds                                        $1.00                                             Va. Code Ann. § 34-4
     Line from Schedule A/B: 33.1
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Disposable Wages                                                                                                        Va. Code Ann. § 34-29
     Line from Schedule A/B: 35.1
                                                                    $1,672.00                                       75%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Disposable Wages                                                                                                        Va. Code Ann. § 34-4
     Line from Schedule A/B: 35.1
                                                                    $1,672.00                                       25%
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 4 of 5
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 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                               page 5 of 5
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                                                                   Document     Page 13 of 50
 Fill in this information to identify your case:

 Debtor 1                   Betty D. Hunter
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number           1:17-bk-13295
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Cit Bank                                 Describe the property that secures the claim:               $565,808.31              $648,571.00                      $0.00
         Creditor's Name
                                                  Mortgage Loan
         OneWest Bank Mortgage
         Servicing Attn: Ba                       As of the date you file, the claim is: Check all that
         2900 Esperanza Xing                      apply.
         Austin, TX 78758-3658                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        1125

 2.2     Internal Revenue Service                 Describe the property that secures the claim:                 $12,205.32             $651,943.54                      $0.00
         Creditor's Name
                                                  Tax Lien Federal account opened
                                                  3/4/2014
         PO Box 7346                              As of the date you file, the claim is: Check all that
         Philadelphia, PA                         apply.
         19101-7346                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        7823


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 3
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 Debtor 1 Betty D. Hunter                                                                                   Case number (if know)          1:17-bk-13295
              First Name                  Middle Name                     Last Name


 2.3    South Riding Proprietary                   Describe the property that secures the claim:                     $1,906.43               $648,571.00              $0.00
        Creditor's Name
                                                   HOA Arrearages
        C/o Service First
        Management
                                                   As of the date you file, the claim is: Check all that
        12084 Cadet Ct                             apply.
        Manassas, VA                                Contingent
        20109-7897
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        3600

        TREASURER, COUNTY
 2.4                                               Describe the property that secures the claim:                        $193.03                       $0.00      $193.03
        of LOUDOUN, VIRGINIA
        Creditor's Name
                                                   Personal Property Tax

        1 Harrison St SE Fl 1                      As of the date you file, the claim is: Check all that
        Leesburg, VA                               apply.
        20175-3102                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                                  $580,113.09
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                 $580,113.09

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
         Citibank Mortgage
         6900 Beatrice Dr                                                                           Last 4 digits of account number   1125
         Kalamazoo, MI 49009-9559

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
         McCabe, Weisberg And Conway, LLC
         312 Marshall Ave Ste 800                                                                   Last 4 digits of account number   1125
         Laurel, MD 20707-4808




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 3
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 Debtor 1 Betty D. Hunter                                                                 Case number (if know)          1:17-bk-13295
             First Name                Middle Name                   Last Name



        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.1
        OneWest Bank, FSB
        Attn.: Bankruptcy Department                                              Last 4 digits of account number   1125
        2900 Esperanza Xing
        Austin, TX 78758-3658

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.3
        Segan Mason & Mason
        7010 Little River Tpke Ste 700                                            Last 4 digits of account number   3600
        Annandale, VA 22003-3241

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.1
        Shapiro & Brown, LLP
        10021 Balls Ford Rd Ste 200                                               Last 4 digits of account number   1125
        Manassas, VA 20109-2666




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Betty D. Hunter
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number           1:17-bk-13295
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Internal Revenue Service                             Last 4 digits of account number         7823             $12,979.00           $12,979.00                     $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes                                                                           2014 1040 Taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 7
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 Debtor 1 Hunter, Betty D.                                                                                  Case number (if know)          1:17-bk-13295

 2.2        Profess Acct                                          Last 4 digits of account number       0958                  $300.00                $300.00                   $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?
            633 W Wisconsin Ave
            Milwaukee, WI 53203-1918
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                          Open account

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        All Star Legacy LLC                                      Last 4 digits of account number         4000                                                       $1,541.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            44600 Guilford Dr
            Ashburn, VA 20147-6059
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Breach of Tuition Contract




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 7
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 Debtor 1 Hunter, Betty D.                                                                             Case number (if know)            1:17-bk-13295

 4.2      American Collections E                                  Last 4 digits of account number       0039                                               $180.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          205 S Whiting St Ste 500
          Alexandria, VA 22304-3632
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Open account


 4.3      Bk of Amer                                              Last 4 digits of account number       1944                                               $284.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 982235
          El Paso, TX 79998-2235
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Revolving account


 4.4      Capital One                                             Last 4 digits of account number       8765                                               $454.97
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 30281
          Salt Lake City, UT 84130-0281
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Revolving account




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 7
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 Debtor 1 Hunter, Betty D.                                                                             Case number (if know)            1:17-bk-13295

 4.5      Chase Auto                                              Last 4 digits of account number       1860                                               $566.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 24696
          Columbus, OH 43224-0696
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
                                                                                       Installment account Repossession
           Yes                                                   Other. Specify      Deficiency

 4.6      Comenity Bank/Dressbrn                                  Last 4 digits of account number       4321                                               $261.45
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 182789
          Columbus, OH 43218-2789
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Revolving account


 4.7      Eastern Account System                                  Last 4 digits of account number       5460                                               $488.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          75 Glen Rd Ste 110
          Sandy Hook, CT 06482-1175
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Open account




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 7
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           Case 17-13295-KHK                        Doc 13         Filed 10/11/17 Entered 10/11/17 18:54:37                                         Desc Main
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 Debtor 1 Hunter, Betty D.                                                                             Case number (if know)            1:17-bk-13295

 4.8       INOVA Health System                                    Last 4 digits of account number       0100                                                  $261.69
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           2990 Telestar Ct
           Falls Church, VA 22042-1207
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      Medical Services Judgment


 4.9       Internal Revenue Service                               Last 4 digits of account number       7823                                               $1,006.88
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2010
           PO Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      1040 Taxes


 4.10      South Riding Proprietary                               Last 4 digits of account number       8000                                               $1,691.55
           Nonpriority Creditor's Name
           C/o Service First Management                           When was the debt incurred?
           12084 Cadet Ct
           Manassas, VA 20109-7897
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      HOA Arrearages

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 7
Software Copyright (c) 1996-2017 CIN Group - www.cincompass.com
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 Debtor 1 Hunter, Betty D.                                                                                 Case number (if know)        1:17-bk-13295
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Comcast                                                     Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8029 Corporate Dr                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Nottingham, MD 21236-4977
                                                             Last 4 digits of account number                      5460
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank                                               Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Department                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 182125
 Columbus, OH 43218-2125
                                                             Last 4 digits of account number                      4321
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 DC DMV Adjudication Services                                Line 2.2 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2014                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20013-2014
                                                             Last 4 digits of account number                      0958
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Fair Oaks Emergency Physicians                              Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PLLC                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 3600 Joseph Siewick Dr
 Fairfax, VA 22033-1709
                                                             Last 4 digits of account number                      0039
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Golinowski & Colarusso                                      Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 4015 Chain Bridge Rd                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Fairfax, VA 22030-4110
                                                             Last 4 digits of account number                      0100
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Quantum3 Group LLC as Agent for                             Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Sadino Funding, LLC                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 788
 Kirkland, WA 98083-0788
                                                             Last 4 digits of account number                      4321
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Raymond Ceresa PC                                           Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 20605 Gordon Park Sq                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Ashburn, VA 20147-3146
                                                             Last 4 digits of account number                      4000
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Segan Mason & Mason                                         Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 7010 Little River Tpke Ste 700                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Annandale, VA 22003-3241
                                                             Last 4 digits of account number                      8000
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 South Riding Proprietar                                     Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 43055 Center St                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 South Riding, VA 20152-4492
                                                             Last 4 digits of account number                      8000

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                  13,279.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                       0.00

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 7
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 Debtor 1 Hunter, Betty D.                                                                           Case number (if know)    1:17-bk-13295


                        6e.   Total Priority. Add lines 6a through 6d.                                6e.     $                 13,279.00

                                                                                                                       Total Claim
                        6f.   Student loans                                                           6f.     $                      0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.     $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.     $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $                  6,735.54

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $                  6,735.54




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 7 of 7
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              Case 17-13295-KHK                       Doc 13          Filed 10/11/17 Entered 10/11/17 18:54:37                               Desc Main
                                                                     Document     Page 23 of 50
 Fill in this information to identify your case:

 Debtor 1                 Betty D. Hunter
                          First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number           1:17-bk-13295
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Betty D. Hunter
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number            1:17-bk-13295
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Betty D. Hunter

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA
                                              DIVISION

Case number               1:17-bk-13295                                                                    Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation              See Schedule Attached                        Permit Drafter
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                      Washington Gas

       Occupation may include student or Employer's address
                                                                                                                  101 Constitution Ave NW
       homemaker, if it applies.
                                                                                                                  Washington, DC 20001-2133

                                             How long employed there?                                                      1 years and 9 months
                                                                                *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         4,017.26        $         4,302.83

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      4,017.26               $   4,302.83




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Hunter, Betty D.                                                                        Case number (if known)    1:17-bk-13295


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      4,017.26       $         4,302.83

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        388.46        $         842.90
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00        $           0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00        $           0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $           0.00
      5e.    Insurance                                                                       5e.        $          0.00        $           0.00
      5f.    Domestic support obligations                                                    5f.        $          0.00        $           0.00
      5g.    Union dues                                                                      5g.        $          0.00        $           0.00
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +      $           0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $            388.46       $          842.90
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          3,628.80       $       3,459.93
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $      1,225.16        $              0.00
      8b. Interest and dividends                                                             8b.        $          0.00        $              0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00    $              0.00
      8d. Unemployment compensation                                                          8d.        $              0.00    $              0.00
      8e.    Social Security                                                                 8e.        $              0.00    $              0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $            0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $        1,619.94
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $            0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          1,225.16       $          1,619.94

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            4,853.96 + $       5,079.87 = $          9,933.83
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          9,933.83
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
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Debtor 1    Hunter, Betty D.                                                      Case number (if known)   1:17-bk-13295


                                                 Official Form B 6I
                                 Attachment for Additional Employment Information

Debtor
Occupation              Caregiver
Name of Employer        Capital Home Care
How long employed       2 years and 9 months
Address of Employer     14820 Physicians Ln # 242
                        Rockville, MD 20850-3952
Debtor
Occupation              Cashier
Name of Employer        Priority Nissan Chantilly
How long employed       3 years and 2 months
Address of Employer     14840 Stonecroft Center Ct
                        Chantilly, VA 20151-1737




Official Form 106I                                      Schedule I: Your Income                                              page 3
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Fill in this information to identify your case:

Debtor 1                Betty D. Hunter                                                                      Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA,                                              MM / DD / YYYY
                                          ALEXANDRIA DIVISION

Case number           1:17-bk-13295
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            niece                                19              Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           2,678.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                          542.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                           78.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Hunter, Betty D.                                                                          Case number (if known)       1:17-bk-13295

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              400.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                50.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              510.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              700.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              150.00
10.   Personal care products and services                                                      10. $                                               200.00
11.   Medical and dental expenses                                                              11. $                                               200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               343.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                40.00
14.   Charitable contributions and religious donations                                         14. $                                                20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               330.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property Taxes                                                         16. $                                                 87.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               150.00
      17b. Car payments for Vehicle 2                                                         17b. $                                               500.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                 0.00
19.   Other payments you make to support others who do not live with you.                           $                                              400.00
      Specify: payment for support of additional dependent not living at ho                    19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:        Postage                                                           21. +$                                                10.00
      Professional Dues                                                                             +$                                               26.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       7,414.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       7,414.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               9,933.83
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              7,414.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               2,519.83

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Betty D. Hunter
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

Case number              1:17-bk-13295
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Betty D. Hunter                                               X
             Betty D. Hunter                                                   Signature of Debtor 2
             Signature of Debtor 1

             Date       October 11, 2017                                       Date
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 Fill in this information to identify your case:

 Debtor 1                   Betty D. Hunter
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number           1:17-bk-13295
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             648,571.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                5,044.54

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             653,615.54

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             580,113.09

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $              13,279.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $                6,735.54


                                                                                                                                     Your total liabilities $                   600,127.63


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                9,933.83

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                7,414.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $         9,914.23


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            13,279.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             13,279.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                 Betty D. Hunter
                          First Name                      Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)      First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

 Case number           1:17-bk-13295
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                  there                                                                          lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income               Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until             Wages, commissions,                         $34,400.95         Wages, commissions,
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 For last calendar year:                          Wages, commissions,                         $30,566.00         Wages, commissions,
 (January 1 to December 31, 2016 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:               Wages, commissions,                         $23,172.00         Wages, commissions,
 (January 1 to December 31, 2015 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income from           Sources of income             Gross income
                                                  Describe below.                    each source                 Describe below.               (before deductions
                                                                                     (before deductions and                                    and exclusions)
                                                                                     exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

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8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment          Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name
       Annie Bradford                                             9/2017-8/2017                $5,000.00                 $0.00      Real Property Taxes
       4270 E 168th Pl                                                                                                              Cuyahoga County, OH
       Cleveland, OH 44128-3305


 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                 Nature of the case       Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                      Date                        Value of the
                                                                                                                                                            property
                                                                  Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                      Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:
       Annie Bradford                                                 Funds to Pay Real Property Taxes                       9/2015-8/2017                $9,000.00
       4270 E 168th Pl
       Cleveland, OH 44128-3305

       Person's relationship to you: Mother




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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       Gifts with a total value of more than $600 per                 Describe the gifts                                    Dates you gave                 Value
       person                                                                                                               the gifts

       Person to Whom You Gave the Gift and
       Address:
       Elizabeth Gilmore                                              Funds for College Expenses                            9/2015-8/2017             $2,000.00
       Clark Atlanta University
       Atlanta, GA

       Person's relationship to you: Niece


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                         Dates you                      Value
       more than $600                                                                                                       contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                                                                                loss                             lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or           Amount of
       Address                                                        transferred                                           transfer was               payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       CC Advising.com                                                Funds                                                 9/2017                        $9.76
                                                                      Pre-Petition Credit Counseling Course
       ccadvising.com


       The Lilly Law Group, PC                                        $3000.00- Attorney's Fees                             9/2017                    $3,435.00
       10195 Main St Ste I                                            $435.00-Costs
       Fairfax, VA 22031-3415


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or           Amount of
       Address                                                        transferred                                           transfer was               payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
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      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
      gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                   Describe any property or       Date transfer was
       Address                                                        property transferred                       payments received or debts     made
                                                                                                                 paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of             Type of account or        Date account was       Last balance before
       Address (Number, Street, City, State and ZIP               account number               instrument                closed, sold,           closing or transfer
       Code)                                                                                                             moved, or
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                         have it?
                                                                      and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                       have it?
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5

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      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                   Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and       know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                   Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and       know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                    Status of the
       Case Number                                                    Name                                                                             case
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                              Describe the nature of the business                 Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                 Name of accountant or bookkeeper
                                                                                                                      Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
       Name                                                       Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6

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bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Betty D. Hunter
 Betty D. Hunter                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date     October 11, 2017                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Betty D. Hunter                                                                          According to the calculations required by this
                                                                                                                Statement:
 Debtor 2                                                                                                            1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                         11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the:
                                                   Eastern District of Virginia, Alexandria                          2. Disposable income is determined under 11
                                                   Division                                                              U.S.C. § 1325(b)(3).
 Case number           1:17-bk-13295                                                                                 3. The commitment period is 3 years.
 (if known)

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
        Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                               $        3,885.46        $         4,302.83
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                             $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                             Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                    0.00      $               0.00
  6. Net income from rental and other real property                  Debtor 1
        Gross receipts (before all deductions)                         $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from rental or other real property           $       0.00 Copy here -> $                    0.00      $               0.00




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                                                                                                               Column A                      Column B
                                                                                                               Debtor 1                      Debtor 2 or
                                                                                                                                             non-filing spouse
                                                                                                               $                 0.00        $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                                 $                 0.00        $             0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                        0.00
            For your spouse                                           $                        0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
     under the Social Security Act.                                                      $                                       0.00        $             0.00
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
                  Loving Heart                                                                                 $              106.00         $             0.00
                  Survivor Benefit                                                                             $                 0.00        $         1,619.94
                  Total amounts from separate pages, if any.                                              +    $                 0.00        $             0.00
  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                       $         3,991.46           +   $      5,922.77      =    $      9,914.23

                                                                                                                                                                   Total average
                                                                                                                                                                   monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                                 $          9,914.23
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents,
              such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional adjustments on
              a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                      $
                                                                                                      $
                                                                                                   +$

                      Total                                                                         $                     0.00           Copy here=>           -              0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                          $          9,914.23

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                           $          9,914.23

                Multiply line 15a by 12 (the number of months in a year).                                                                                          x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................                 $        118,970.76




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  16. Calculate the median family income that applies to you. Follow these steps:

       16a. Fill in the state in which you live.                           VA

       16b. Fill in the number of people in your household.                 2
       16c. Fill in the median family income for your state and size of household.                                                        $       71,871.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1,
                                                                                                               Disposable income is not determined under 11
                      U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2,
                                                                                                   Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                            $                9,914.23
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
     income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                           -$                     0.00


       19b. Subtract line 19a from line 18.                                                                                               $        9,914.23


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                 $        9,914.23

              Multiply by 12 (the number of months in a year).                                                                                  x 12

       20b. The result is your current monthly income for the year for this part of the form                                              $      118,970.76




       20c. Copy the median family income for your state and size of household from line 16c                                              $       71,871.00


       21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period
                   is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Betty D. Hunter
        Betty D. Hunter
        Signature of Debtor 1
       Date October 11, 2017
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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 Fill in this information to identify your case:

 Debtor 1           Betty D. Hunter

 Debtor 2
 (Spouse, if filing)

                                                   Eastern District of Virginia, Alexandria
 United States Bankruptcy Court for the:           Division

 Case number        1:17-bk-13295
 (if known)                                                                                                  Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                       04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional pages,
write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the the
    questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’ s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses
    if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not
    deduct any amounts that you subtracted from your spouse’    s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
           number of any additional dependents whom you support. This number may be different from the number of           2 Living
           people in your household.                                                                                      0 Housing



    National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards,
           fill in the dollar amount for food, clothing, and other items.                                                    $                 1,132.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




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    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person            $               49

            7b. Number of people who are under 65                         X           2

            7c. Subtotal. Multiply line 7a by line 7b.                    $          98.00              Copy here=>        $             98.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person            $            117

            7e. Number of people who are 65 or older                      X           0

            7f.   Subtotal. Multiply line 7d by line 7e.                  $            0.00             Copy here=>        $              0.00


            7g. Total. Add line 7c and line 7f                                                 $       98.00                    Copy total here => $         98.00



    Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
    purposes into two parts:
    Housing and utilities - Insurance and operating expenses
    Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the separate
    instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in
         the dollar amount listed for your county for insurance and operating expenses.                                    $               561.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                      $        2,335.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file for
                  bankruptcy. Next divide by 60.

                  Name of the creditor                                         Average monthly
                                                                               payment

                  Cit Bank                                                     $          2,677.97
                  South Riding Proprietary                                     $               76.90
                  Internal Revenue Service                                     $            203.42

                                                                                                        Copy                                       Repeat this amount
                                     9b. Total average monthly payment         $          2,958.29      here=>        -$               2,958.29 on line 33a.

            9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                              Copy
                  rent expense). If this number is less than $0, enter $0.                                 $                    0.00      here=>    $            0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                 $           110.00

             Explain why:     PUD Rider



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    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

             0. Go to line 14.
             1. Go to line 12.
            2 or more. Go to line 12.

    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
        expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.             $                                      490.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below. You
        may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for more than
        two vehicles.
     Vehicle 1         Describe Vehicle 1:
                                                 ,
    13a. Ownership or leasing costs using IRS Local Standard..................................................         $             485.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for bankruptcy.
            Then divide by 60.

                 Name of each creditor for Vehicle 1                                Average monthly
                                                                                    payment

                 TREASURER, COUNTY of LOUDOUN,
                 VIRGINIA                                                           $                3.22

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                        Total Average Monthly Payment               $                3.22         here =>       -$            3.22    line 33b.



    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if the numbert is less than $0, enter $0. ...................                                       expense here
                                                                                                                       $             481.78      =>              $   481.78


     Vehicle 2         Describe Vehicle 2:

    13d. Ownership or leasing costs using IRS Local Standard..................................................         $             485.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                                Average monthly
                                                                                    payment

                 -NONE-                                                             $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                        Total average monthly payment               $                0.00         =>       -$             0.00    33c.



    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $             485.00      =>              $   485.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $         0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
        deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
        more than the IRS Local Standard forPublic Transportation.                                                                 $                                   0.00

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    Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                           the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your
        pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and subtract
        that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                    $      408.46
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
        union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                $          0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
        together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
        life insurance other than term.                                                                                                     $          0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
        agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $          0.00
    20. Education: The total monthly amount that you pay for education that is either required:
            as a condition for your job, or
            for your physically or mentally challenged dependent child if no public education is available for similar services.           $          0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                           $          0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
        required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
        savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                          $       50.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services for
        you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
        service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
        is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                         +$      147.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                  $    3,963.24
        Add lines 6 through 23.
    Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                 Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
        dependents.
            Health insurance                                               $          0.00
            Disability insurance                                           $          0.00
            Health savings account                                      +$            0.00

            Total                                                         $             0.00       Copy total here=>                        $          0.00

            Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                    $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
        household or member of your immediate family who is unable to pay for such expenses. These expenses may include
        contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).                                                       $      300.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
        you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                          $          0.00


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    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
            then fill in the excess amount of home energy costs.
            You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
            claimed is reasonable and necessary.                                                                                                    $              0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
        elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
            reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.                    $              0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
        than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of
        the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
            this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                           $              0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

            Do not include any amount more than 15% of your gross monthly income.                                                                   $            20.00

    32. Add all of the additional expense deductions.                                                                                               $         320.00
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans,
        and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
        the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                            Average monthly
                                                                                                                                                payment
    33a.      Copy line 9b here                                                                                                            =>   $           2,958.29
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                           =>   $               3.22
    33c.      Copy line 13e here                                                                                                           =>   $               0.00
    33d. List other secured debts
    Name of each creditor for other secured debt                  Identify property that secures the debt                     Does payment
                                                                                                                              include taxes
                                                                                                                              or insurance?

                                                                                                                                    No
             -NONE-                                                                                                                 Yes        $


                                                                                                                                    No
                                                                                                                                    Yes        $


                                                                                                                                    No
                                                                                                                                    Yes   +    $


                                                                                                                                           Copy
                                                                                                                                           total
    33e. Total average monthly payment. Add lines 33a through 33d                                               $           2,961.51       here=>       $    2,961.51




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    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or
        other property necessary for your support or the support of your dependents?

              No.      Go to line 35.
         Yes.          State any amount that you must pay to a creditor, in addition to the payments listed in
                        line 33, to keep possession of your property (called the cure amount). Next, divide by
                        60 and fill in the information below.

     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                   Monthly cure
                                                                                                                                                                 amount

     Cit Bank                                                                                                            $              28,699.80 ÷ 60 = $                   478.33
     South Riding Proprietary                                                                                            $               3,128.40 ÷ 60 = $                    52.14
                                                                                                                         $                            ÷ 60 = +$
                                                                                                                                                            Copy
                                                                                                                                                            total
                                                                                                                  Total $                    530.47         here=>       $       530.47

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
              No.      Go to line 36.
         Yes.          Fill in the total amount of all of these priority claims. Do not include current or ongoing
                        priority claims, such as those you listed in line 19.

                          Total amount of all past-due priority claims                                                       $           13,279.20          ÷ 60       $         221.32

    36. Projected monthly Chapter 13 plan payment                                                                            $             1,917.69
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by the
        Executive Office for United States Trustees (for all other districts).                                               X             7.90
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                          Copy total
        Average monthly administrative expense                                                                                   $        151.50          here=> $               151.50


    37. Add all of the deductions for debt payment.                                                                                                                  $       3,864.80
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                    $          3,963.24
            Copy line 32, All of the additional expense deductions                                $             320.00
            Copy line 37, All of the deductions for debt payment                                 +$          3,864.80


            Total deductions..................................................................    $          8,148.04                Copy total here =>            $            8,148.04




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 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                              $                  9,914.23
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you received
        in accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
        expended for such child.                                                                       $                        0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified in 11
        U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as specified in
        11 U.S.C. § 362(b)(19).                                                                          $                      0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here               =>    $            8,148.04
    43. Deduction for special circumstances. If special circumstances justify additional expenses
        and you have no reasonable alternative, describe the special circumstances and their
        expenses. You must give your case trustee a detailed explanation of the special circumstances
        and documentation for the expenses.

    Describe the special circumstances                                                   Amount of expense

                                                                                     $
                                                                                     $
                                                                                     $

                                                                                                             Copy
                                                                           Total $               0.00        here=> $                   0.00


                                                                                                                                   Copy
    44. Total adjustments. Add lines 40 through 43                                               =>      $          8,148.04       here=> -$           8,148.04


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                     $         1,766.19


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported
        in this form have changed or are virtually certain to change after the date you filed your
        bankruptcy petition and during the time your case will be open, fill in the information below. For
        example, if the wages reported increased after you filed your petition, check 122C-1 in the first
        column, enter line 2 in the second column, explain why the wages increased, fill in when the
        increase occurred, and fill in the amount of the increase.

    Form            Line           Reason for change                                      Date of change          Increase or       Amount of change
                                                                                                                  decrease?

     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease        $
     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease        $
     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease        $
     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease        $




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 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Betty D. Hunter
             Betty D. Hunter
             Signature of Debtor 1
    Date October 11, 2017
         MM / DD / YYYY




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